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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 17-CR-20275-ROSENBERG

  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  KEVIN CHRISTIAN FUSCO,

        Defendant.
  ___________________________________/

                 DEFENDANT’S UNOPPOSED MOTION TO CONTINUE
                              SENTENCING

        The defendant, Kevin Christian Fusco, through counsel, hereby files this

  Unopposed Motion to Continue Sentencing, and in support thereof, states:

        1.     Mr. Fusco has admitted to violations 3 through 9 in this case. (DE 80).

  The matter is currently scheduled for sentencing on October 25, 2022 at 11 a.m. (DE

  82). Mr. Fusco is also scheduled for sentencing before this Court on October 25, 2022

  in another matter. (United States v. Fusco, 22-CR-80056-Rosenberg). The parties

  anticipate that this sentencing hearing will require more than 30 minutes to

  complete.

        2.     The undersigned has recently been assigned a multi-codefendant case

  that is scheduled for a defense motion to dismiss on October 25, 2022 at 10 a.m. in

  Fort Pierce. (United States v. Jose Goyos, 22-CR-80022-AMC-10). That motion to

  dismiss applies to Mr. Goyos and four other co-defendants. (United States v. Carver
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  et al, 22-CR-80022-AMC, DEs 350, 355, 371, 372, & 378). The government and the

  five defendants have previously requested a continuance of the motion to dismiss,

  (United States v. Carver et al, 22-CR-80022-AMC, DE 392), but the motion to continue

  has been denied. (United States v. Carver et al, 22-CR-80022-AMC, DE 394).

        3.     Accordingly, the undersigned requests that this Court continue Mr.

  Fusco’s sentencing hearing. The undersigned, as well as the Government, are

  available later in the week of October 25, 2022 or the following week for sentencing

  in this matter, and Mr. Fusco’s other related matter.

        4.     The undersigned has conferred with Assistant United States Attorney

  Daniel Funk who has advised the Government does not oppose this request.

        Wherefore, the Defendant, Kevin Christian Fusco, through undersigned

  counsel respectfully moves to continue the sentencing hearing currently scheduled

  for October 25, 2022 at 11 a.m.

                                         Respectfully submitted,

                                         MICHAEL CARUSO
                                         FEDERAL PUBLIC DEFENDER

                                         By: s/M. Caroline McCrae
                                         M. Caroline McCrae
                                         Assistant Federal Public Defender
                                         Attorney for Defendant
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                            CERTIFICATE OF SERVICE
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        I HEREBY certify that on October 18, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices

  of Electronic Filing generated by CM/ECF or in some other authorized manner for

  those counsel or parties who are not authorized to receive electronically Notices of

  Electronic Filing.

                                         s/M. Caroline McCrae
                                         M. Caroline McCrae
